                 Case 21-52584-sms                           Doc 1             Filed 03/30/21 Entered 03/30/21 16:39:40                               Desc Main
                                                                               Document Page 1 of 61
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Northern District of Georgia

 Case number (If known):                              Chapter you are filing under:
                                                      ✔
                                                      ❑         Chapter 7
                                                      ❑         Chapter 11
                                                      ❑         Chapter 12
                                                      ❑         Chapter 13
                                                                                                                                                 ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Jaime
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   A.
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Ibarra
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 9        6       9   2                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Jaime               A.                           Ibarra                                             Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification
                                          ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years
                                          Business name                                                       Business name
       Include trade names and doing
       business as names
                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          233 Augusta Walk
                                          Number             Street                                           Number            Street




                                              Canton, GA 30114-7553
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                              Cherokee
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from yours, fill it
                                          it in here. Note that the court will send any notices to you at in here. Note that the court will send any notices to you at this
                                          this mailing address.                                           mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
               Case 21-52584-sms                    Doc 1       Filed 03/30/21 Entered 03/30/21 16:39:40                                       Desc Main
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 Debtor 1           Jaime                A.                        Ibarra                                               Case number (if known)
                    First Name           Middle Name                  Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy     Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Code you are choosing to file     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                             ✔
                                         ❑      Chapter 7
                                         ❑      Chapter 11
                                         ❑      Chapter 12
                                         ❑      Chapter 13



  8.   How you will pay the fee          ✔
                                         ❑    I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                              about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                              order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                              a pre-printed address.

                                         ❑    I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                              The Filing Fee in Installments (Official Form 103A).

                                         ❑    I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                              but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                              that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                              out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




  9.   Have you filed for bankruptcy     ✔ No.
                                         ❑
       within the last 8 years?
                                         ❑Yes.      District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY




  10. Are any bankruptcy cases           ✔ No.
                                         ❑
       pending or being filed by a
       spouse who is not filing this     ❑Yes.      Debtor                                                                       Relationship to you
       case with you, or by a business
       partner, or by an affiliate?                 District                                      When                           Case number, if known
                                                                                                         MM / DD / YYYY


                                                    Debtor                                                                       Relationship to you

                                                    District                                      When                           Case number, if known
                                                                                                         MM / DD / YYYY




  11. Do you rent your residence?        ✔
                                         ❑    No.    Go to line 12.

                                         ❑    Yes. Has your landlord obtained an eviction judgment against you?

                                                     ❑   No. Go to line 12.

                                                     ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                         of this bankruptcy petition.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
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 Debtor 1             Jaime                   A.                        Ibarra                                             Case number (if known)
                      First Name              Middle Name                Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of any        ✔
                                              ❑    No. Go to Part 4.
      full- or part-time business?
                                              ❑    Yes. Name and location of business
      A sole proprietorship is a business
      you operate as an individual, and is
      not a separate legal entity such as          Name of business, if any
      a corporation, partnership, or LLC.

      If you have more than one sole               Number           Street
      proprietorship, use a separate
      sheet and attach it to this petition.


                                                   City                                                       State         ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                   ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                   ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                   ❑      None of the above



  13. Are you filing under Chapter 11         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
      of the Bankruptcy Code, and             under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
      are you a small business debtor         choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
      or a debtor as defined by 11            statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      U.S. C. § 1182(1)?
                                              ✔
                                              ❑    No.        I am not filing under Chapter 11.
      For a definition of small business
      debtor, see 11 U.S.C. § 101(51D).       ❑    No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                              Bankruptcy Code.

                                              ❑    Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                              Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                              ❑    Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code,
                                                              and I choose to proceed under Subchapter V of Chapter 11.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any                  ✔
                                              ❑    No.
      property that poses or is
      alleged to pose a threat of             ❑    Yes.     What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                            If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that
      needs urgent repairs?                                 Where is the property?
                                                                                     Number          Street




                                                                                       City                                                State               ZIP Code




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 4
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 Debtor 1            Jaime                A.                         Ibarra                                             Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                  You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
      check one of the following               petition, and I received a certificate of completion.                petition, and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if            Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                             any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.             petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you          Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if             MUST file a copy of the certificate and payment plan, if
                                               any.                                                                 any.

                                          ❑    I certify that I asked for credit counseling services from an   ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services             approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent               during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                 circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                         requirement.
                                               To ask for a 30-day temporary waiver of the requirement,             To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made             attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it             to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                    before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                        circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied              Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you            with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still          If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                    receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if              along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for             Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                        cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit            ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                               counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                 ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                   deficiency that makes me incapable
                                                                of realizing or making rational                                      of realizing or making rational
                                                                decisions about finances.                                            decisions about finances.
                                               ❑    Disability.   My physical disability causes me to               ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                               be unable to participate in a briefing
                                                                  in person, by phone, or through the                                  in person, by phone, or through the
                                                                  internet, even after I reasonably tried                              internet, even after I reasonably tried
                                                                  to do so.                                                            to do so.
                                               ❑    Active duty. I am currently on active military duty in          ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                              a military combat zone.

                                               If you believe you are not required to receive a briefing            If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver           about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                 of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 5
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 Debtor 1            Jaime                  A.                        Ibarra                                              Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you                  16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
      have?                                           an individual primarily for a personal, family, or household purpose.”
                                                       ❑    No. Go to line 16b.
                                                       ✔
                                                       ❑    Yes. Go to line 17.

                                                 16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                      business or investment or through the operation of the business or investment.
                                                       ❑    No. Go to line 16c.
                                                       ❑    Yes. Go to line 17.

                                                 16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?            ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any             ✔
                                                 ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded and                       expenses are paid that funds will be available to distribute to unsecured creditors?
      administrative expenses are paid                         ❑    No
      that funds will be available for                         ❑    Yes
      distribution to unsecured
      creditors?

  18. How many creditors do you                   ✔
                                                  ❑    1-49          ❑    1,000-5,000          ❑     25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                      ❑    50-99         ❑    5,001-10,000
                                                  ❑    100-199       ❑    10,001-25,000
                                                  ❑    200-999


  19. How much do you estimate your               ❑    $0-$50,000                      ❑    $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
      assets to be worth?                         ❑    $50,001-$100,000                ❑    $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                                  ✔
                                                  ❑    $100,001-$500,000               ❑    $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                                  ❑    $500,001-$1 million             ❑    $100,000,001-$500 million                 ❑    More than $50 billion


  20. How much do you estimate your               ❑    $0-$50,000                      ❑    $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
      liabilities to be?                          ❑    $50,001-$100,000                ❑    $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                                  ✔
                                                  ❑    $100,001-$500,000               ❑    $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                                  ❑    $500,001-$1 million             ❑    $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Jaime A. Ibarra
                                         Jaime A. Ibarra, Debtor 1
                                         Executed on 03/30/2021
                                                           MM/ DD/ YYYY




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                         page 6
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 Debtor 1            Jaime                  A.                         Ibarra                                             Case number (if known)
                     First Name             Middle Name                 Last Name



   For your attorney, if you are                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                            under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                                 which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an              in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this        filed with the petition is incorrect.
   page.

                                                 ✘ /s/ Patricia Lyda Williams                                              Date 03/30/2021
                                                                                                                                 MM / DD / YYYY
                                                      Signature of Attorney for Debtor



                                                     Patricia Lyda Williams
                                                     Printed name

                                                     The Williams Law Office, LLC
                                                     Firm name

                                                     3675 Crestwood Pkwy NW Suite 400
                                                     Number      Street



                                                     Duluth                                                              GA       30096-5054
                                                     City                                                                State    ZIP Code



                                                     Contact phone (770) 827-6515                        Email address patty.williamslaw@gmail.com


                                                     763510                                                              GA
                                                     Bar number                                                          State




Official Form 101                                            Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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 Fill in this information to identify your case and this filing:

  Debtor 1                          Jaime                        A.                         Ibarra
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Northern District of Georgia
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     4 BR, 3 BA, 2,957 sq. ft., Built 2019                           What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
                                                                                                                                                           Who Have Claims Secured by Property.

              233 Augusta Walk                                               ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Canton, GA 30114-7553                                         ❑ Land                                                                                    $323,000.00                    $161,500.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Cherokee
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                          JTWROS
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ✔ At least one of the debtors and another
                                                                                                                                                              (see instructions)
                                                                             ❑
                                                                             Other information you wish to add about this item, such as local property identification number:
                                                                             Monthly pymt: $1,709.75

                                                                             Source of Value:
                                                                             realtor.com
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $161,500.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
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 Debtor 1                  Jaime                         A.                               Ibarra                                                              Case number (if known)
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Kia                       Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                  Forte
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                            ❑ Debtor 2 only
            Model:                                                                                                                                          Who Have Claims Secured by Property.

                                                  2015                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                                                                                                                          entire property?             portion you own?
                                                  125,000
            Approximate mileage:                                                                                                                                         $5,000.00                   $5,000.00

            Other information:                                              ❑Check if this is community property (see
                                                                                instructions)
            Bought used




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                  ➜              $5,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Stove, fridge, dishwasher, washer/dryer, microwave, cookware, dinnerware, utensils, BR, LR, and DR
                                               furniture, lawnmower, yard tools, household tools                                                                                                     $1,500.00


 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Old stereo, TV, cell phone                                                                                                                              $150.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........

Official Form 106A/B                                                                                    Schedule A/B: Property                                                                      page 2
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 Debtor 1                      Jaime                              A.                                    Ibarra                                                                      Case number (if known)
                               First Name                         Middle Name                            Last Name



 9. Equipment for sports and hobbies
       Examples:          Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                          carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:           Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Clothing and accessories                                                                                                                                              $150.00



 12.    Jewelry
        Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:           Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                                      $1,800.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                                Current value of the
                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                                             claims or exemptions.


 16.    Cash
        Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ✔ No
        ❑
        ❑ Yes........................................................................................................................................................   Cash..............



Official Form 106A/B                                                                                                     Schedule A/B: Property                                                                          page 3
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                          First Name            Middle Name              Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                               Institution name:



       17.1. Checking account:                  Chase Bank, Acc't # xxxx5600                                                          $367.13


       17.2. Checking account:                  Wells Fargo Bank, Acc't # xxxx8899                                                    $216.11


       17.3. Savings account:


       17.4. Savings account:


       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Name of entity:                                                                     % of ownership:




Official Form 106A/B                                                               Schedule A/B: Property                                                     page 4
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 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
       Type of account:                     Institution name:

       401(k) or similar plan:              Siemens Industry Inc.                                                                 $24,338.55

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                      Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:


       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................

Official Form 106A/B                                                               Schedule A/B: Property                                                  page 5
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       Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.


 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑           Give specific information about      2020 | 2020 Estimated refund                                      Federal:                           $1,341.00
                   them, including whether you
                   already filed the returns and the                                                                      State:
                   tax years.......................
                                                                                                                          Local:


 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement




Official Form 106A/B                                                              Schedule A/B: Property                                                    page 6
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       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                                                           Company name:                                           Beneficiary:                          Surrender or refund value:
                 of each policy and list its value....




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                               Schedule A/B: Property                                                               page 7
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 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                          $26,262.79



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:

                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
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                           First Name                      Middle Name                       Last Name



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                              $0.00




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 9
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                            First Name                       Middle Name                          Last Name




 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                 $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                    $161,500.00


 56.   Part 2: Total vehicles, line 5                                                                                          $5,000.00


 57.   Part 3: Total personal and household items, line 15                                                                     $1,800.00


 58.   Part 4: Total financial assets, line 36                                                                               $26,262.79


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $33,062.79             Copy personal property total➜          +         $33,062.79




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                   $194,562.79




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                  page 10
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 Fill in this information to identify your case:

  Debtor 1                    Jaime                A.                  Ibarra
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 4 BR, 3 BA, 2,957 sq. ft., Built 2019                                   $161,500.00
                                                                                         ❑                 $21,500.00             Ga. Code Ann. § 44-13-100(a)(1)

  233 Augusta Walk Canton, GA 30114-7553                                                 ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2015 Kia Forte                                                             $5,000.00
                                                                                         ❑                 $5,000.00              Ga. Code Ann. § 44-13-100(a)(3)

  Bought used                                                                            ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
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                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 Stove, fridge, dishwasher, washer/dryer, microwave,                 $1,500.00
                                                                                   ❑                $3,000.00                 Ga. Code Ann. § 44-13-100(a)(4)

 cookware, dinnerware, utensils, BR, LR, and DR                                    ❑   100% of fair market value, up to
 furniture, lawnmower, yard tools, household tools                                     any applicable statutory limit

 Line from
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Old stereo, TV, cell phone                                              $150.00
                                                                                   ❑                 $300.00                  Ga. Code Ann. § 44-13-100(a)(4)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         7


                                                                                   ✔
 Brief description:
 Clothing and accessories                                                $150.00
                                                                                   ❑                 $150.00                  Ga. Code Ann. § 44-13-100(a)(4)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        11


                                                                                   ✔
 Brief description:
 Chase Bank, Acc't # xxxx5600                                            $367.13
                                                                                   ❑                 $367.13                  Ga. Code Ann. § 44-13-100(a)(6)

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 Wells Fargo Bank, Acc't # xxxx8899                                      $216.11
                                                                                   ❑                 $216.11                  Ga. Code Ann. § 44-13-100(a)(6)

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 Siemens Industry Inc.                                              $24,338.55
                                                                                   ❑               $24,338.55                 Ga. Code Ann. § 44-13-100(a)(2.1)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        21


                                                                                   ✔
 Brief description:
 2020 Estimated refund                                               $1,341.00
                                                                                   ❑                $1,341.00                 Ga. Code Ann. § 44-13-100(a)(6)

 Federal tax                                                                       ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        28




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                    page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                       Jaime                   A.                     Ibarra
                                 First Name              Middle Name           Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name           Last Name

  United States Bankruptcy Court for the:                               Northern District of Georgia

  Case number                                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                                  amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for             Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much            Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                 Do not deduct the      that supports         portion
                                                                                                                             value of collateral.   this claim            If any
 2.1 Citizens One Home Loans                                  Describe the property that secures the claim:                         $299,383.67           $161,500.00           $137,883.67
        Creditor's Name
                                                               4 BR, 3 BA, 2,957 sq. ft., Built 2019
         Attn: Bankruptcy Dept.                                233 Augusta Walk Canton, GA 30114-7553
         P. O. Box 6260
        Number          Street
                                                              As of the date you file, the claim is: Check all that apply.

         Glen Allen, VA 23058-6260                            ❑Contingent
        City                      State       ZIP Code        ❑Unliquidated
        Who owes the debt? Check one.                         ❑Disputed
        ❑Debtor 1 only                                        Nature of lien. Check all that apply.
        ❑Debtor 2 only                                        ✔An agreement you made (such as mortgage or
                                                              ❑
        ❑Debtor 1 and Debtor 2 only                              secured car loan)
        ✔At least one of the debtors and another
        ❑                                                     ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                     ❑Judgment lien from a lawsuit
           community debt
                                                              ❑Other (including a right to offset)
        Date debt was incurred
        02/13/2020                                            Last 4 digits of account number 3            1   3    9

         Remarks: HOA - Towne Mill Community Association. Annual Dues: $770



         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $299,383.67




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
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                         First Name           Middle Name              Last Name


                                                                                                                     Column A                Column B              Column C
                Additional Page
                                                                                                                     Amount of claim         Value of collateral   Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                                   Do not deduct the       that supports         portion
                2.3, followed by 2.4, and so forth.                                                                  value of collateral.    this claim            If any



 2.2                                                  Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                      As of the date you file, the claim is: Check all that apply.

       City                      State   ZIP Code     ❑Contingent
       Who owes the debt? Check one.                  ❑Unliquidated
       ❑Debtor 1 only                                 ❑Disputed
       ❑Debtor 2 only                                 Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another          secured car loan)

       ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                              ❑Judgment lien from a lawsuit
       Date debt was incurred                         ❑Other (including a right to offset)
                                                      Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                               $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $299,383.67
       here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
                 Case 21-52584-sms                  Doc 1        Filed 03/30/21 Entered 03/30/21 16:39:40                                   Desc Main
                                                                Document Page 22 of 61
 Debtor 1            Jaime                 A.                       Ibarra                                           Case number (if known)
                     First Name             Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     1
        Towne Mill Community Association, Inc.
        Name
                                                                                             Last 4 digits of account number
        3101 Towercreek Pkwy SE, Suite 150
        Number       Street



        Atlanta, GA 30339-3256
        City                                                State            ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 3
                 Case 21-52584-sms                      Doc 1      Filed 03/30/21 Entered 03/30/21 16:39:40                                     Desc Main
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 Fill in this information to identify your case:

  Debtor 1                   Jaime                 A.                  Ibarra
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
                   Case 21-52584-sms                    Doc 1        Filed 03/30/21 Entered 03/30/21 16:39:40                                      Desc Main
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 Debtor 1              Jaime                  A.                        Ibarra                                             Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     American Express                                                          Last 4 digits of account number 3005                                               $13,814.52
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          07/05/2017
        P.O. Box 981537                                                           As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        El Paso, TX 79998-1537
        City                              State     ZIP Code
        Who incurred the debt? Check one.
                                                                                  ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑
                                                                                      divorce that you did not report as priority claims
          At least one of the debtors and another
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
        Remarks: Lawsuit filed 2/18/21, Cherokee Co. State Court, Case
        #21SCE0222
4.2     Credit Union Loan Source                                                  Last 4 digits of account number 95xx                                                $5,689.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          06/10/2016
        Attn: Bankruptcy Dept.
                                                                                  As of the date you file, the claim is: Check all that apply.
        1669 Phoenix Parkway, Suite 110                                           ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Atlanta, GA 30349-5462
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               Personal Loan
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 6
                    Case 21-52584-sms                   Doc 1     Filed 03/30/21 Entered 03/30/21 16:39:40                                  Desc Main
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 Debtor 1              Jaime                 A.                     Ibarra                                            Case number (if known)
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.3     Navy Federal Credit Union                                            Last 4 digits of account number 63xx                                             $502.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/14/2008
        Attn: Bankruptcy Dept.
                                                                             As of the date you file, the claim is: Check all that apply.
        P. O. Box 3501
       Number           Street
                                                                             ❑   Contingent

        Merrifield, VA 22119-3500
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Line of Credit
       ✔
       ❑      No
       ❑      Yes
4.4     Navy Federal Credit Union                                            Last 4 digits of account number 11xx                                        $15,378.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/29/2011
        Bankruptcy Department
                                                                             As of the date you file, the claim is: Check all that apply.
        820 Follin Lane SE
       Number           Street
                                                                             ❑   Contingent

        Vienna, VA 22180-4907
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Credit Card
       ✔
       ❑      No
       ❑      Yes
4.5     SYNCB / American Signature                                           Last 4 digits of account number 92xx                                         $3,124.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/11/2020
        P. O. Box 965036
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896-5036
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Charge account
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3 of 6
                    Case 21-52584-sms                   Doc 1     Filed 03/30/21 Entered 03/30/21 16:39:40                                  Desc Main
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 Debtor 1              Jaime                 A.                     Ibarra                                            Case number (if known)
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.6     SYNCB/Car Care Discount Tire                                         Last 4 digits of account number 50xx                                             $696.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/07/2017
        P. O. Box 965001
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896-5001
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Credit Card
       ❑      Yes
4.7     SYNCB/Sam's Club                                                     Last 4 digits of account number 38xx                                             $277.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/24/2017
        P. O. Box 105972
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Atlanta, GA 30348-5972
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Credit Card
       ❑      Yes
4.8     Tally Technologies, Inc.                                                                                                                          $7,938.95
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Attn: Bankruptcy Department
                                                                             As of the date you file, the claim is: Check all that apply.
        375 Alabama Street, Suite 325
       Number           Street                                               ❑   Contingent
        San Francisco, CA 94110-7334                                         ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                        ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                 similar debts
              Check if this claim is for a community debt
                                                                             ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Personal Loan
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 6
                Case 21-52584-sms                       Doc 1    Filed 03/30/21 Entered 03/30/21 16:39:40                                      Desc Main
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 Debtor 1              Jaime               A.                       Ibarra                                           Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Zwicker & Associates, P.C.                                    On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        Attn: Keith D. Taylor
        3505 Koger Blvd., Suite 125                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number 3005
        Duluth, GA 30096-7672
       City                                     State    ZIP Code


                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                     State    ZIP Code




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 5 of 6
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 Debtor 1              Jaime                A.                     Ibarra                                      Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $47,419.47
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $47,419.47




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
                    Case 21-52584-sms                     Doc 1      Filed 03/30/21 Entered 03/30/21 16:39:40                                     Desc Main
                                                                    Document Page 29 of 61
 Fill in this information to identify your case:

     Debtor 1                   Jaime                A.                  Ibarra
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Northern District of Georgia

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                 Case 21-52584-sms                          Doc 1     Filed 03/30/21 Entered 03/30/21 16:39:40                                      Desc Main
                                                                     Document Page 30 of 61
 Fill in this information to identify your case:

  Debtor 1                     Jaime                  A.                  Ibarra
                               First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)          First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                           Northern District of Georgia

  Case number                                                                                                                                ❑      Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑No
        ✔Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔No. Go to line 3.
        ❑
        ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑No
          ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                 State     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
        codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
        Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1
      Ibarra-Perez, Ambar A.
                                                                                                                  ✔Schedule D, line 2.1
                                                                                                                  ❑
      Name                                                                                                        ✔Schedule E/F, line 4.5
                                                                                                                  ❑
      233 Augusta Walk
      Number          Street                                                                                      ❑Schedule G, line
      Canton, GA 30114-7553
      City                                  State   ZIP Code




Official Form 106H                                                            Schedule H: Your Codebtors                                                                  Page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                   Jaime                 A.                  Ibarra
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Georgia                                    ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                          chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                  Debtor 1                                         Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ✔Employed ❑Not Employed
                                                                                                                               ❑
     attach a separate page with
     information about additional              Occupation                  Retail Account Coordinator                          Project Manager
     employers.
                                               Employer's name             Siemens                                             Super Upholstery, Inc.
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          10247 Hwy 92, Unit 3 101                            1951 Canton Rd., Suite 240
     Occupation may include student                                         Number Street                                       Number Street
     or homemaker, if it applies.




                                                                           Woodstock, GA 30188                                 Marietta, GA 30066
                                                                            City                      State    Zip Code         City                    State      Zip Code
                                               How long employed there? 4 years 2 months



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                          For Debtor 1      For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $4,447.82                  $2,942.55

 3. Estimate and list monthly overtime pay.                                                  3.   +               $0.00    +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $4,447.82                  $2,942.55




Official Form 106I                                                              Schedule I: Your Income                                                                 page 1
                    Case 21-52584-sms                                    Doc 1             Filed 03/30/21 Entered 03/30/21 16:39:40                                Desc Main
                                                                                          Document Page 32 of 61
 Debtor 1                  Jaime                           A.                                  Ibarra                                          Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $4,447.82               $2,942.55
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.             $1,008.42                 $775.88
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.              $266.86                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
      5e. Insurance                                                                                                    5e.                $0.00                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify:                                                                                   5h.   +             $0.00       +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.              $1,275.28                 $775.88
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,172.54               $2,166.67
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.                $0.00                    $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.              $600.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.               $600.00                     $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $3,772.54   +            $2,166.67        =       $5,939.21

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $5,939.21
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                 Case 21-52584-sms                         Doc 1         Filed 03/30/21 Entered 03/30/21 16:39:40                              Desc Main
                                                                        Document Page 33 of 61
 Fill in this information to identify your case:

  Debtor 1                   Jaime                    A.                     Ibarra
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                            Northern District of Georgia

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Sibling                             31                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                          Sibling                             41                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                     $1,709.75


     If not included in line 4:
                                                                                                                                   4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                      $200.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                       $64.20
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
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 Debtor 1              Jaime                   A.                        Ibarra                               Case number (if known)
                       First Name              Middle Name               Last Name


                                                                                                                              Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                   5.                          $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                           6a.                       $398.20

       6b. Water, sewer, garbage collection                                                                         6b.                       $119.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.                       $264.84

       6d. Other. Specify:                                                                                          6d.                         $0.00

 7.    Food and housekeeping supplies                                                                               7.                    $1,000.00

 8.    Childcare and children’s education costs                                                                     8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                          9.                        $200.00

 10. Personal care products and services                                                                            10.                       $155.00

 11.   Medical and dental expenses                                                                                  11.                       $120.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                   12.                       $654.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                         $0.00

 14. Charitable contributions and religious donations                                                               14.                         $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                    15a.                        $0.00
       15a. Life insurance
                                                                                                                    15b.                        $0.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                       15c.                      $197.71

       15d. Other insurance. Specify:                                                                               15d.                        $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                     16.                         $0.00

 17. Installment or lease payments:
                                                                                                                    17a.                        $0.00
       17a. Car payments for Vehicle 1
                                                                                                                    17b.                        $0.00
       17b. Car payments for Vehicle 2
                                                                                                                    17c.                      $356.56
       17c. Other. Specify:                 Wife's car payment
                                                                                                                    17d.                      $498.00
       17d. Other. Specify:         Wife's credit cards & loan payment

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                             20a.                        $0.00
       20b. Real estate taxes                                                                                       20b.                        $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                            20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                             20e.                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                             page 2
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 Debtor 1              Jaime                A.                      Ibarra                                  Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +              $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $5,937.26

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $5,937.26


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $5,939.21

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $5,937.26

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                   $1.95
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                         page 3
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 Debtor 1            Jaime                  A.                 Ibarra                               Case number (if known)
                     First Name             Middle Name        Last Name




                                                                                                                                    Amount


   9. Clothing, laundry, and dry cleaning
                                                                                                                                     $100.00
       Wife's clothing expenses                                                                                                      $100.00

   10. Personal care products and services
                                                                                                                                      $75.00
       Wife's personal care                                                                                                           $80.00

   12. Transportation: gas, maintenance, bus or train fare
                                                                                                                                     $350.00
       Wife's vehicle expenses                                                                                                       $304.00




Official Form 106J                                                      Schedule J: Your Expenses                                       page 4
                    Case 21-52584-sms                                 Doc 1            Filed 03/30/21 Entered 03/30/21 16:39:40                                                            Desc Main
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 Fill in this information to identify your case:

  Debtor 1                         Jaime                         A.                          Ibarra
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                           Northern District of Georgia

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $161,500.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $33,062.79


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $194,562.79



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $299,383.67

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $47,419.47


                                                                                                                                                                  Your total liabilities                    $346,803.14

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $5,939.21


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $5,937.26




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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 Debtor 1             Jaime                  A.                       Ibarra                                              Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                       $7,549.91




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Jaime                 A.                  Ibarra
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Jaime A. Ibarra
        Jaime A. Ibarra, Debtor 1


        Date 03/30/2021
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)


                                                    United States Bankruptcy Court
                                                                   Northern District of Georgia

In re        Ibarra, Jaime A.

                                                                                                       Case No.

Debtor                                                                                                 Chapter                  7


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
        that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
        services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
        follows:

        For legal services, I have agreed to accept ......................................................................................................................................
                                                                                                                                                $1,999.00

        Prior to the filing of this statement I have received ...........................................................................................................................
                                                                                                                                                  $359.00

        Balance Due ................................................................................................................................................
                                                                                                                                                          $1,640.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                           ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                           ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
        of my law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
        of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
        attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
               bankruptcy;

        b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation of Client in a state court proceeding, including w/o limitation, collection lawsuits, foreclosure lawsuits, domestic
        proceedings, motions to revoke a discharge, obtaining title reports, appeals to the Dist. Court of Appeals, motions to avoid liens
        or dismiss a case; or any adversary proceeding filed by the Trustee, U.S. Trustee or any other party on any basis, preparing
        reaffirmation agreements or motion to impose or extend bankruptcy stay.




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B2030 (Form 2030) (12/15)


                                                         CERTIFICATION

                     I certify that the foregoing is a complete statement of any agreement or arrangement for
                payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                       03/30/2021                                      /s/ Patricia Lyda Williams
                Date                                     Patricia Lyda Williams
                                                         Signature of Attorney
                                                                                         Bar Number: 763510
                                                                                The Williams Law Office, LLC
                                                                         3675 Crestwood Pkwy NW Suite 400
                                                                                       Duluth, GA 30096-5054
                                                                                       Phone: (770) 827-6515

                                                                    The Williams Law Office, LLC
                                                         Name of law firm




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                               American Express
                               P.O. Box 981537
                               El Paso, TX 79998-1537




                               Citizens One Home Loans
                               Attn: Bankruptcy Dept.
                               P. O. Box 6260
                               Glen Allen, VA 23058-6260



                               Credit Union Loan Source
                               Attn: Bankruptcy Dept.
                               1669 Phoenix Parkway, Suite 110
                               Atlanta, GA 30349-5462



                               Ambar A. Ibarra-Perez
                               233 Augusta Walk
                               Canton, GA 30114-7553




                               Navy Federal Credit Union
                               Attn: Bankruptcy Dept.
                               P. O. Box 3501
                               Merrifield, VA 22119-3500



                               Navy Federal Credit Union
                               Bankruptcy Department
                               820 Follin Lane SE
                               Vienna, VA 22180-4907



                               SYNCB / American Signature
                               P. O. Box 965036
                               Orlando, FL 32896-5036




                               SYNCB/Car Care Discount Tire
                               P. O. Box 965001
                               Orlando, FL 32896-5001
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                               SYNCB/Sam's Club
                               P. O. Box 105972
                               Atlanta, GA 30348-5972




                               Tally Technologies, Inc.
                               Attn: Bankruptcy Department
                               375 Alabama Street, Suite 325
                               San Francisco, CA 94110-7334



                               Towne Mill Community
                               Association, Inc.
                               3101 Towercreek Pkwy SE, Suite 150
                               Atlanta, GA 30339-3256



                               Zwicker & Associates, P.C.
                               Attn: Keith D. Taylor
                               3505 Koger Blvd., Suite 125
                               Duluth, GA 30096-7672
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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF GEORGIA
                                                                 ATLANTA DIVISION

IN RE: Ibarra, Jaime A.                                                                      CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       03/30/2021              Signature                                     /s/ Jaime A. Ibarra
                                                                                Jaime A. Ibarra, Debtor
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 Fill in this information to identify your case:

  Debtor 1                   Jaime                 A.                    Ibarra
                             First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                          Northern District of Georgia

  Case number                                                                                                                            ❑   Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                                 Dates Debtor 1 lived     Debtor 2:                                             Dates Debtor 2 lived
                                                                there                                                                          there


                                                                                       ❑ Same as Debtor 1                                     ❑ Same as Debtor 1
     10247 Hwy 92, Unit 3-101                                 From 09/01/2018                                                                 From
    Number      Street                                                                     Number     Street
                                                              To     08/31/2019                                                               To

     Woodstock, GA 30188
    City                               State ZIP Code                                      City                         State ZIP Code



                                                                                       ❑ Same as Debtor 1                                     ❑ Same as Debtor 1
     2662 Forest Glen Dr. NE                                  From 09/01/2019                                                                 From
    Number      Street                                                                     Number     Street
                                                              To     02/12/2020                                                               To

     Marietta, GA 30066-1485
    City                               State ZIP Code                                      City                         State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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Debtor 1            Jaime                A.                       Ibarra                                              Case number (if known)
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $11,437.26            bonuses, tips                          $8,148.60
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $49,561.43            bonuses, tips                         $25,821.87
    (January 1 to December 31, 2020           )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $48,036.86            bonuses, tips                         $39,440.14
    (January 1 to December 31, 2019           )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2020           )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2019           )
                                     YYYY




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Debtor 1            Jaime                    A.                       Ibarra                                              Case number (if known)
                    First Name                   Middle Name              Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                            payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
               ❑
                            payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                            this bankruptcy case.

                                                                  Dates of              Total amount paid        Amount you still owe          Was this payment for…
                                                                  payment

                                                                                                                                             ✔ Mortgage
                                                                                                                                             ❑
              Citizen One Home Loans                             01/20/2021                        $5,100.05               $299,383.67
             Creditor's Name                                                                                                                 ❑Car
              Attn: Bankruptcy Dept.                             02/10/2021                                                                  ❑Credit card
              P. O. Box 6260                                                                                                                 ❑Loan repayment
                                                                                                                                             ❑Suppliers or vendors
             Number         Street                               03/10/2021

              Glen Allen, VA 23058                                                                                                           ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                               Dates of               Total amount paid   Amount you still owe       Reason for this payment
                                                               payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




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Debtor 1            Jaime                  A.                      Ibarra                                               Case number (if known)
                    First Name             Middle Name               Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                    Civil lawsuit on credit card debt
    Case title       American Express vs.
                     Jaime Ibarra
                                                                                                Cherokee County State Court                      ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name

                                                                                                                                                 ❑Concluded
    Case number 21SCE0222                                                                       Attn: Clerk of Court
                                                                                                90 North St., Suite G-170
                                                                                               Number       Street
                                                                                                Canton, GA 30114-2792
                                                                                               City                       State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.




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Debtor 1            Jaime                 A.                      Ibarra                                           Case number (if known)
                    First Name            Middle Name              Last Name

                                                                    Describe the property                                    Date            Value of the property



    Creditor’s Name


    Number      Street                                              Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State    ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




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Debtor 1             Jaime                   A.                      Ibarra                                           Case number (if known)
                     First Name              Middle Name              Last Name

     Gifts with a total value of more than $600 per           Describe the gifts                                          Dates you gave       Value
     person                                                                                                               the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                             State    ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that       Describe what you contributed                                    Date you              Value
     total more than $600                                                                                            contributed



    Charity’s Name




    Number      Street



    City                     State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and           Describe any insurance coverage for the loss                      Date of your loss      Value of property lost
     how the loss occurred                        Include the amount that insurance has paid. List pending
                                                  insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1            Jaime               A.                     Ibarra                                             Case number (if known)
                    First Name           Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred                Date payment or         Amount of payment
     The Williams Law Office, LLC                                                                               transfer was made
    Person Who Was Paid                        Filing Fee and 2 credit counseling courses
                                                                                                               03/03/2021                             $359.00
     3675 Crestwood Pkwy NW Suite 400
    Number     Street




     Duluth, GA 30096-5054
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1            Jaime                A.                     Ibarra                                            Case number (if known)
                    First Name           Middle Name            Last Name

                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number      Street




    City                    State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number          Type of account or        Date account was            Last balance
                                                                                         instrument                closed, sold, moved, or     before closing or
                                                                                                                   transferred                 transfer

    Name of Financial Institution
                                                XXXX–                                  ❑Checking
                                                                                       ❑Savings
    Number      Street
                                                                                       ❑Money market
                                                                                       ❑Brokerage
                                                                                       ❑Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.


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Debtor 1            Jaime                A.                    Ibarra                                          Case number (if known)
                    First Name           Middle Name           Last Name

                                                 Who else had access to it?                   Describe the contents                      Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑No
    Name of Financial Institution               Name
                                                                                                                                        ❑Yes

    Number      Street                          Number     Street



                                                City                    State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?            Describe the contents                      Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑No
    Name of Storage Facility                    Name
                                                                                                                                        ❑Yes

    Number      Street                          Number     Street



                                                City                    State   ZIP Code

    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Where is the property?                       Describe the property                      Value


    Owner's Name
                                                Number     Street


    Number      Street

                                                City                    State   ZIP Code


    City                    State   ZIP Code




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Debtor 1            Jaime                 A.                       Ibarra                                                Case number (if known)
                    First Name            Middle Name               Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                           Environmental law, if you know it                         Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State   ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                           Environmental law, if you know it                         Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1             Jaime                  A.                        Ibarra                                               Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Court or agency                             Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 11
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Debtor 1           Jaime                 A.                    Ibarra                                          Case number (if known)
                   First Name            Middle Name            Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Jaime A. Ibarra
       Signature of Jaime A. Ibarra, Debtor 1


       Date 03/30/2021




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
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 Fill in this information to identify your case:

  Debtor 1                   Jaime                 A.                   Ibarra
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Georgia

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral               What do you intend to do with the property that secures a Did you claim the property as
                                                                             debt?                                                     exempt on Schedule C?

    Creditor’s                                                               ❑ Surrender the property.                                    ❑ No
    name:                 Citizens One Home Loans
                                                                             ❑ Retain the property and redeem it.                         ✔ Yes
                                                                                                                                          ❑
    Description of
    property
                          4 BR, 3 BA, 2,957 sq. ft., Built 2019
                          233 Augusta Walk Canton, GA 30114-7553
                                                                             ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                             ✔ Retain the property and [explain]:
    securing debt:
                                                                             ❑
                                                                                   continue to make monthly payments




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                              page 1
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 Debtor 1            Jaime                A.                      Ibarra                                          Case number (if known)
                     First Name           Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



  ✘ /s/ Jaime A. Ibarra
      Signature of Debtor 1


      Date 03/30/2021
             MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
                 Case 21-52584-sms                      Doc 1      Filed 03/30/21 Entered 03/30/21   16:39:40 Desc Main
                                                                                               Check one box only as directed in this form and in Form
 Fill in this information to identify your case:
                                                                  Document Page 59 of 61      122A-1Supp:
  Debtor 1                   Jaime
                             First Name
                                                   A.
                                                   Middle Name
                                                                        Ibarra
                                                                        Last Name
                                                                                                                     ✔1. There is no presumption of abuse.
                                                                                                                     ❑
  Debtor 2                                                                                                           ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)                                                                                                   abuse applies will be made under Chapter 7 Means
                             First Name            Middle Name          Last Name
                                                                                                                        Test Calculation (Official Form 122A-2).

                                                                                                                     ❑3. The Means Test does not apply now because of
  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                            qualified military service but it could apply later.
  (if known)
                                                                                                                     ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ✔ Married and your spouse is NOT filing with you. You and your spouse are:
      ❑
         ✔ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A                 Column B
                                                                                                               Debtor 1                 Debtor 2 or
                                                                                                                                        non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                       $4,130.12                     $2,819.79

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B is
    filled in.                                                                                                              $0.00                         $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not include payments you listed on
    line 3.                                                                                                               $600.00                         $0.00

 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
      Gross receipts (before all deductions)                                $0.00           $0.00

      Ordinary and necessary operating expenses                     -       $0.00   -        $0.00

                                                                                                     Copy
                                                                           $0.00            $0.00
      Net monthly income from a business, profession, or farm                                        here
                                                                                                     →                      $0.00                         $0.00

 6. Net income from rental and other real property                      Debtor 1        Debtor 2
      Gross receipts (before all deductions)                                $0.00           $0.00

      Ordinary and necessary operating expenses                     -       $0.00   -        $0.00

                                                                                                     Copy
                                                                           $0.00            $0.00
      Net monthly income from rental or other real property                                          here
                                                                                                     →                      $0.00                         $0.00

 7. Interest, dividends, and royalties                                                                                      $0.00                         $0.00

 Official Form 122A-1                                              Chapter 7 Statement of Your Current Monthly Income                                                       page 1
Debtor 1
                    Case  21-52584-sms
                      Jaime         A.
                                                                             Doc 1               Filed
                                                                                                  Ibarra
                                                                                                         03/30/21 Entered 03/30/21 16:39:40 Desc Main
                                                                                                                                Case number (if known)
                            First Name                         Middle Name
                                                                                                Document
                                                                                                   Last Name
                                                                                                               Page 60 of 61
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                         $0.00                        $0.00
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................                     $0.00
           For your spouse......................................................................                           $0.00
       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00                        $0.00
          under the Social Security Act. Also, except as stated in the next sentence, do not include
          any compensation, pension, pay, annuity, or allowance paid by the United States
          Government in connection with a disability, combat-related injury or disability, or death of a
          member of the uniformed services. If you received any retired pay paid under chapter 61 of
          title 10, then include that pay only to the extent that it does not exceed the amount of retired
          pay to which you would otherwise be entitled if retired under any provision of title 10 other
          than chapter 61 of that title.
      10. Income from all other sources not listed above. Specify the source and amount. Do
          not include any benefits received under the Social Security Act; payments made under
          the Federal law relating to the national emergency declared by the President under the
          National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
          disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
          against humanity, or international or domestic terrorism; or compensation, pension, pay,
          annuity, or allowance paid by the United States Government in connection with a
          disability, combat-related injury or disability, or death of a member of the uniformed
          services. If necessary, list other sources on a separate page and put the total below




     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                     $4,730.12              +       $2,819.79    =       $7,549.91
       11. Calculate your total current monthly income. Add lines 2 through 10 for each
           column. Then add the total for Column A to the total for Column B.                                                                                                                         Total current
                                                                                                                                                                                                     monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →            $7,549.91

             Multiply by 12 (the number of months in a year).                                                                                                                                        X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.           $90,598.92

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                 Georgia

    Fill in the number of people in your household.                                    4

    Fill in the median family income for your state and size of household....................................................................................................           13.           $91,161.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
        ✔Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
   14a. ❑
          Go to Part 3. Do NOT fill out or file Official Form 122A-2.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.




Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                            page 2
Debtor 1
               Case  21-52584-sms
                 Jaime         A.
                                                      Doc 1         Filed
                                                                     Ibarra
                                                                            03/30/21 Entered 03/30/21 16:39:40 Desc Main
                                                                                                   Case number (if known)
                     First Name              Middle Name
                                                                   Document
                                                                      Last Name
                                                                                  Page 61 of 61
Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Jaime A. Ibarra
       Signature of Debtor 1

       Date 03/30/2021
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                               Chapter 7 Statement of Your Current Monthly Income                        page 3
